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   Pg: 27 Ln: 9 - 10



      Annotation:
        27: 9     All right.          And who hired you?

            10                 A.      Charlie Bantis.



   Pg: 27 Ln: 11 - 22



      Annotation:
        27:11     Okay.        And what were you hired to do?

            12                  A.      To be a wealth advisor.

            13                  Q.      Okay.    That was your job title?

            14                  A.      Yeah, I don't know if it was wealth

            15    planning advisor.             Something like that.   Yeah.

            16                  Q.      Does wealth advisor and client

            17    strategist ring a bell?

            18                  A.      Yeah, because the -- my title

            19    transitioned shortly, like the next year of client

            20    strategist.           The bank was trying to figure out what to

            21    call it.           It's basically a business development

            22    position, so. . .



   Pg: 28 Ln: 11 - 20



       Annotation:
        28:11          Okay.    So tell me what your job

            12    responsibilities were as a wealth strategist.

            13                  A.      Client strategist.

            14                  Q.      Well, I'm seeing two titles.     One

            15    is -- I'm sorry, I think I misspoke.             Wealth advisor.



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            16        Tell me what your job responsibilities were as a

            17        wealth advisor.

            18                     A.    To promote all the various aspects of

            19        the bank, so lending, investment management, 401(k)

            20        planning, estate -- trust and estate planning.



   Pg: 29 Ln: 1 - 3



       Annotation:
        29: 1         Q.        Okay.   And how about as a client

             2        strategist, what were your job responsibilities?

             3                     A.    Same thing, just different title.



   Pg: 31 Ln: 14 - 21



       Annotation:
        31:14              Q.     How much fiduciary accounts were

            15        entrusted to First Western Trust Bank on November 21,

            16        2016?

            17                     A.    I can't recall, but I would say maybe a

            18        half dozen to a dozen.

            19                     Q.    That business really hadn't been

            20        developed very much; is that fair?

            21                     A.    Correct.



   Pg: 34 Ln: 8 - Pg: 35 Ln: 25



       Annotation:
        34: 8         Q.        Okay.   When you went about your job

             9        responsibilities as a wealth advisor and client

            10        strategist, which we've agreed had marketing, did you



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           11    have a methodology that you used?       And by that I mean

           12    did you have written materials you would give a

           13    customer, did you develop a, for lack of a better way

           14    of putting it, a sales pitch?

           15             A.     Yes.

           16             Q.     Okay.   Tell me about that.   What written

           17    materials did you provide to customers that you were

           18    asking to open fiduciary managed accounts and or

           19    trusted to running by Western Federal Trust Bank?

           20             A.     First Western.

           21             Q.     Okay.

           22             A.     First Western Trust Bank.

           23             Q.     First Western Trust Bank, correct.     I'm

           24    sorry.

           25             A.     They had a piece that showed how the

       35: 1     trust department was positioned versus other

            2    investment management warehouses and other trust

            3    companies.    That was a one-pager that was useful.

            4    They also had a -- it wasn't so much of a written

            5    piece, but it was one of the -- one of the investment

            6    professionals who had left before I got there had a

            7    good pitch, he called it the junk drawer pitch, which

            8    would talk about how scattered people's assets and

            9    financial plans were, and how it was good to aggregate

           10    in one place.

           11             Q.     Was that a written document, the junk

           12    drawer pitch?

           13             A.     No, it was a -- it was sort of a video.

           14             Q.     Okay.   So that was like a -- how long a

           15    video, like a five-minute video or presentation?

           16             A.     Yeah.   Yeah.    Few-minute video.



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            17                Q.     Tell me in a little more detail about

            18        this -- this junk drawer pitch, few-minute video.

            19        What did it communicate to the prospective client?

            20                A.     The -- basically most people were

            21        getting services from various different places,

            22        multiple bank accounts, maybe multiple investment

            23        accounts and no one was really taking a look at the

            24        big picture.    And, again, coming in that fiduciary

            25        capacity.



   Pg: 36 Ln: 1 - 7



       Annotation:
        36: 1          Q.   What representations were made to the

             2        client about what First Western Trust Bank would do in

             3        this junk drawer video pitch?

             4                A.     I would say there was sort of a simplify

             5        your life sort of thing.

             6                Q.     Let us take care of your investment,

             7        simplify your life, that sort of thing?



   Pg: 36 Ln: 9 - 13



       Annotation:
        36: 9          Q.   What representations were made about the

            10        quality of the investments, fiduciary investments that

            11        would be made on behalf of a client?

            12                A.     Very high quality.   Able to go toe to

            13        toe with all the best investment firms in the country.



   Pg: 36 Ln: 21 - Pg: 37 Ln: 16



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      Annotation:
        36:21       Q.    Okay.    That was just part of your sales

            22    presentation to a prospective client, we can go toe to

            23    toe with the best investment firms and our results are

            24    as good or better?

            25               A.    Yeah.    I mean, that -- in all of our

        37: 1     written, you know, in all of our performance figures,

             2    we would demonstrate how, you know, we were matched in

             3    the averages, keeping up with the benchmarks.

             4               Q.    Was that another document that you used

             5    in sales pitches, performance figures?

             6               A.    Yes.    The individual fund performance

             7    figures.

             8               Q.    What individual funds are we talking

             9    about here?

            10               A.    Well, we had three fixed income and

            11    three equity funds.

            12               Q.    Okay.    So you had written promotional

            13    materials that said look at our funds and how they

            14    perform in regard -- in comparison to other money

            15    managers' funds, is that what you were doing?

            16               A.    Correct.



   Pg: 38 Ln: 20 - Pg: 39 Ln: 16



      Annotation:
        38:20     Q.     Okay.     Did you discuss in your sales

            21    pitch who specifically would be making the investment

            22    decisions and let's narrow this question to when you

            23    were pitching fiduciary accounts.       Let us manage your



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            24    money.     Did you explain to the clients who

            25    specifically would be doing -- making the investment

        39: 1     decisions in their accounts?

             2               A.    Yes.     So our investment policy committee

             3    set our asset allocation models for all the various

             4    silos and then it came down to the portfolio manager

             5    level where the portfolio manager would basically just

             6    implement the policies from the investment policy

             7    committee and then directly to the client.

             8               Q.    Would you explain to a prospective

             9    client that the Aspen office wouldn't have anything to

            10    do with setting investment policies or implementing

            11    those policies or making decisions in regard to

            12    specific investments that would be made in the

            13    client's account?

            14               A.    Yes, it was always explained in that

            15    manner.     Investment policy committee, portfolio

            16    managers, client.



   Pg: 39 Ln: 17 - Pg: 40 Ln: 5



      Annotation:
        39:17     Q.     Okay.    My question is a little bit

            18    different than that.         Did you explain that neither you

            19    nor anybody in the Aspen office would have anything to

            20    do with managing the client's money if entrusted with

            21    First Western Trust Bank?

            22               A.    Well, at the time that we got Aaron's

            23    account, the portfolio manager responsible for Aspen

            24    worked remotely in Denver.

            25               Q.    Right.     But he was not a member of the



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        40: 1     Aspen -- he was not part of the Aspen office, he was

             2    employed by the Denver office, he was just responsible

             3    for the Aspen accounts; is that fair?

             4               A.    Yeah, he was employed in the Denver Tech

             5    Center office.



   Pg: 40 Ln: 22 - Pg: 41 Ln: 2



      Annotation:
        40:22     Okay.     So the person who made the

            23    investment decisions was Doug Barker, correct?

            24               A.    Correct.

            25               Q.    And Doug Barker was employed by the

        41: 1     Denver Tech Center office, correct?

             2               A.    Correct.



   Pg: 58 Ln: 22 - Pg: 59 Ln: 6



      Annotation:
        58:22     Q.      Okay.   So tell me what you recall

            23    Mr. Sawyer telling Mr. Fleck about why he should

            24    entrust the 8-million-dollar-proceeds from the sale of

            25    his home to First Western Trust Bank to invest?

        59: 1                A.   Because we managed money in a very

             2    conservative way and that is specifically what Aaron

             3    wanted because from day one, he said, I want this

             4    money to be safe for Barbara's well-being in the event

             5    that I am no longer here, to manage it as he had been

             6    managing money his entire career.



   Pg: 59 Ln: 14 - 20



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      Annotation:
        59:14     Q.     Okay.     Did Mr. Sawyer get into any

            15    specifics about how the money would be invested?

            16               A.     I'm sure he did.

            17               Q.     Do you recall what he said?

            18               A.     He said it would be a balanced portfolio

            19    that did not have a lot of volatility associated with

            20    it.



   Pg: 59 Ln: 24 - Pg: 60 Ln: 13



      Annotation:
        59:24     Q.     Okay.     Did he go into detail about what

            25    that conservative investing model was other than it

        60: 1     would be a balanced portfolio without a lot of

             2    volatility?

             3               A.     I'm sure he put up a chart that had a

             4    asset allocation mix that was similar to what would be

             5    implemented in the Fleck portfolio.

             6               Q.     Okay.    Did Mr. Sawyer explain who would

             7    be investing, who would be in charge of making the

             8    actual investment decisions in Mr. Fleck's account?

             9               A.     Yes.    Like I stated earlier, he would

            10    have explained that the investment policy committee

            11    sets the policy for the whole firm, and then it comes

            12    down to the portfolio managers on the local level who

            13    implement that strategy.



   Pg: 60 Ln: 24 - Pg: 61 Ln: 4




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       Annotation:
        60:24         Q.   Okay.   Did he tell Mr. Fleck that --

            25        Mr. Barker who was apparently at the meeting would be

        61: 1         the person making investment decisions in his account?

             2                A.    Well, overseeing the account.    Not

             3        making investment decisions.   Portfolio managers don't

             4        make investment decisions.



   Pg: 61 Ln: 5 - 7



       Annotation:
        61: 5         Q.   Can you elaborate on that a little more?

             6                A.   They follow the guidance of the

             7        investment policy committee.



   Pg: 61 Ln: 13 - 22



       Annotation:
        61:13         Q.   So wouldn't the portfolio manager be the

            14        person who would decide I'm going to buy this equity,

            15        I'm going to buy this equity, I'm not going to buy

            16        this equity, I'm going to sell this equity?

            17                A.    Well, they were all funds within the

            18        portfolio.   No individual stocks.   And as long as --

            19        sometimes the portfolio managers might have had

            20        choices within the certain buckets of the asset

            21        allocation model, but for the most part, they were

            22        just following the guidelines set by the IDC.



   Pg: 62 Ln: 4 - 12




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     Annotation:
       62: 4       Q.    Okay.    We'll get to what each person

            5    said, but what do you recall John Sawyer saying about

            6    the portfolio manager not having any discretion and

            7    not making investment decisions?

            8               A.    What do I recall about that?

            9               Q.    Yeah.

           10               A.    Just, you know, overall description of

           11    what I just said.        I don't think he would have

           12    elaborated too much more than that.



  Pg: 62 Ln: 13 - 15



     Annotation:
       62:13     Q.     Okay.    Do you remember anything else

           14    John Sawyer said?

           15               A.    No.



  Pg: 62 Ln: 16 - Pg: 63 Ln: 3



     Annotation:
       62:16       Q.    Okay.    Let's talk about you.   You --

           17    this is your -- your contact, you're being paid

           18    commission for this.       What did you tell Mr. Fleck and

           19    his daughter and his daughter's husband at this

           20    meeting about why he should entrust the proceeds from

           21    the sale of his home to First Western Trust Bank?

           22               A.    I probably said something along the

           23    lines of, you know, we have five billion, probably,

           24    under management at the time.       We have an excellent

           25    track record.      Doug will be your portfolio manager



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       63: 1         remotely, but that Travis and I would be your local

            2        contacts here in Aspen, your primary go-tos, if you

            3        have questions or need help.



  Pg: 63 Ln: 4 - 9



      Annotation:
       63: 4         Q.    Did you tell Aaron Fleck and his

            5        daughter and his daughter's husband that you and

            6        Travis wouldn't have anything to do with making

            7        investment decisions?

            8                 A.    I can't recall specifically saying that,

            9        but I would think that it was understood.



  Pg: 63 Ln: 25 - Pg: 64 Ln: 7



      Annotation:
       63:25         Q.    Okay.   Tell me exactly what you told

       64: 1         Mr. Fleck.

            2                 A.    That -- that we were simply local, you

            3        know, contacts and that Travis, you know, was an

            4        assistant portfolio manager, he did not have the --

            5        you know, the ability, the credit to -- to make any

            6        changes in the account, that Doug was the primary

            7        portfolio manager and responsible for the management.



  Pg: 64 Ln: 8 - 11



      Annotation:
       64: 8          Q.    And did you tell Mr. Fleck and his

            9        daughter that you didn't have any authority to make



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           10    any changes or investment decisions in the account?

           11               A.    I can't recall.



  Pg: 64 Ln: 12 - 24



     Annotation:
       64:12     Q.     Okay.    Did you tell Mr. Fleck and his

           13    daughter that you and Mr. Van Domelen would have

           14    nothing to do with supervising or oversight of the

           15    investments that were made in his account by the

           16    Denver Tech office?

           17               A.    Supervising the account?

           18               Q.    Supervising or oversight of the

           19    investments made in his account by the Denver Tech

           20    office, that you and Mr. Van Domelen would have

           21    nothing to do with that.        Did you tell him that?

           22               A.    I can't recall if we put it in those

           23    terms.     I would have said Travis and I will be

           24    following the account for you.



  Pg: 64 Ln: 25 - Pg: 65 Ln: 5



     Annotation:
       64:25     Q.     Right.    But you had -- that's different

       65: 1     than telling him we're not going to make any

            2    investments, we don't have the authority to do that?

            3               A.    Yes.   Yes.   I communicated that Travis

            4    and I did not have the authority to make investment

            5    decisions on the account.



  Pg: 65 Ln: 6 - 12



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     Annotation:
       65: 6          Q.    You also communicated that you and

            7    Travis would have no ability to supervise or oversee

            8    what the Denver Tech Center office was doing?

            9                 A.    Yes.

           10                 Q.    Okay.    Tell me what you told him.

           11                 A.    That we were not the ones responsible

           12    for managing the account.



  Pg: 65 Ln: 13 - 16



     Annotation:
       65:13     Q.        Okay.   And that nobody in the Aspen

           14    office was responsible for that account, that would be

           15    done by the Denver Tech office, did you tell him that?

           16                 A.    Yes.    Yes.



  Pg: 66 Ln: 8 - 13



     Annotation:
       66: 8     Q.        What did he say?

            9                 A.   He said we manage money through the use

           10    of mutual funds.

           11                 Q.   Anything else?

           12                 A.   I can't recall specifically anything

           13    else he said.



  Pg: 66 Ln: 20 - 25



     Annotation:



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       66:20          Q.    Did he say he had no discretion to buy

           21        equities or individual securities in the portfolio?

           22                   A.    Yes.

           23                   Q.    Did he say he had no discretion to make

           24        investment decisions in the portfolio?

           25                   A.    Yes.



  Pg: 67 Ln: 1 - 8



      Annotation:
       67: 1         Q.    Did he say that his job was just to

            2        follow the investment policy committee guidelines?

            3                   A.    Yes.

            4                   Q.    Did he give Mr. Fleck a -- did he

            5        describe the investment committee policy -- committee

            6        guidelines that would be applicable to Mr. Fleck's

            7        account?

            8                   A.    Yes.



  Pg: 67 Ln: 23 - Pg: 68 Ln: 8



      Annotation:
       67:23         Q.    Okay.     Aside from the conservative

           24        investment model, did Mr. Barker talk to Mr. Fleck at

           25        all about investment strategy?

       68: 1                    A.    You know, I recall there being

            2        discussion that this was so unlike what Aaron was used

            3        to because he was used to very concentrated positions

            4        in individual securities, that this was a departure

            5        from his comfort zone and he was well aware of that

            6        departure, and he said I'm not going to try to



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            7    micromanage you guys.       I'm going to let you do your

            8    thing.     And this is the best for Barbara.



  Pg: 69 Ln: 1 - 18



     Annotation:
       69: 1     A.      We discussed rough, yeah, parameters

            2    about what the potential returns could be in a

            3    historically conservative portfolio like that.

            4               Q.    And what percentage return was discussed

            5    with Mr. Fleck at this meeting?

            6               A.    Something in the 5 percent range per

            7    year.

            8               Q.    Okay.   And who made that representation?

            9               A.    That would have either been John or

           10    Doug.

           11               Q.    Not you?

           12               A.    I could have on occasion as well.

           13               Q.    Okay.   So that could have been part of

           14    your input at this meeting too, is, you know, we

           15    can -- you know, historically we've generated 5

           16    percent and we would anticipate that level of

           17    performance, something like that?

           18               A.    Yeah.   Yes.



  Pg: 70 Ln: 25 - Pg: 71 Ln: 14



      Annotation:
       70:25     Q.      Sure.    Were other promotional -- written

       71: 1     promotional materials given to Mr. Fleck at the

            2    February 9, 2018 meeting other than the chart showing



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            3    the distribution in the conservative investment model

            4    that you referenced before that Mr. Sawyer used?

            5               A.    I think he would have been given a copy

            6    of the PowerPoint that we used during that meeting.

            7               Q.    Okay.    And tell us what the PowerPoint

            8    consisted of.

            9               A.    Oh, it would have been, you know,

           10    description of -- of the investment process that we

           11    discussed and then, you know, it would have had an

           12    actual layout of the funds within the portfolio, the

           13    conservative portfolio and then it would have had a

           14    fee structure attached to it as well.



  Pg: 72 Ln: 16 - Pg: 73 Ln: 12



     Annotation:
       72:16       Q.    Okay.    Did Mr. Barker ever conduct a

           17    quarterly meeting with Aaron and/or Barbara Fleck

           18    between May of 2018 and November of 2018?

           19               A.    So the end of the second quarter, you

           20    know, we basically had money for a month and so I

           21    think that's why a second quarter meeting was not

           22    necessary.

           23               Q.    The second quarter ended in May of 2018?

           24               A.    End of June.

           25               Q.    Okay.    If you look at the interrogatory

       73: 1     responses again, on page 10, you see the next meeting

            2    identified is November 6?

            3               A.    Right.    That was the third quarter

            4    meeting.

            5               Q.    Well, I'm not understanding.    If the



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           6    second quarter ended in June --

           7             A.    Yeah.

           8             Q.    -- wouldn't the third quarter meeting be

           9    held in September or maybe early October?

          10             A.    I -- well, September is the end of the

          11    third quarter, so the meetings were usually about a

          12    month after the end of each quarter.




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